                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 PAULETTE MYERS JAMES,                                       )
                                                             )
         Plaintiff,                                          )
                                                             )
 v.                                                          )   Case No.: 3:18-CV-356
                                                             )
 SASE COMPANY, LLC,                                          )   JURY DEMAND
                                                             )
         Defendant.                                          )



                                                ANSWER


          Defendant SASE Intermediate Holdings, Inc. ("Defendant"), misidentified in the case

 heading as SASE Company, LLC, hereby answers the numbered paragraphs of the Complaint

 filed by Plaintiff Paulette Myers James ("Plaintiff") as follows:

                                     I. NATURE OF THE CASE

      1. Plaintiff's characterization of the purpose of her cause of action requires no response from

         Defendant. Defendant denies that it has breached any duties arising under federal or state

         law or that it is liable to Plaintiff in any way.

                                 II. JURISDICTION AND VENUE

      2. It is admitted that this Court has jurisdiction over these claims.

      3. It is admitted that the Eastern District of Tennessee is the proper venue for this action.

                                             III. PARTIES

      4. The allegations contained in Paragraph 4 of the Complaint are admitted upon information

         and belief.

      5. Regarding the allegations found in Paragraph 5, Defendant admits only that it operates a

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       concrete preparation and polishing equipment business, and that it is registered to do

       business in Tennessee, and has an operations center in Rockford, Tennessee.            The

       remaining allegations in Paragraph 5 are denied. SASE was sold in 2017 and is no longer

       a limited liability company.

    6. The statement in Paragraph 6 does not contain factual allegations, but rather arguments of

       counsel or conclusions of law that require no response. To the extent these allegations

       are deemed to be allegations of fact, Defendant denies them.

    7. The statement in Paragraph 7 does not contain factual allegations, but rather arguments of

       counsel or conclusions of law that require no response. To the extent these allegations

       are deemed to be allegations of fact, Defendant denies them.

    8. The statement in Paragraph 8 does not contain factual allegations, but rather arguments of

       counsel or conclusions of law that require no response. To the extent these allegations

       are deemed to be allegations of fact, Defendant denies them.

    9. The allegations found in Paragraph 9 are admitted.

                              IV. CONDITIONS PRECEDENT

    10. Regarding the allegations found in Paragraph 10, Defendant does not have sufficient

       knowledge as to when Plaintiff may have filed her charge, as Defendant was not notified

       when Ms. Myers James filed a charge with the EEOC. Further, Defendant can neither

       admit nor deny whether the charge was timely filed.

    11. The allegations found in Paragraph 11 are admitted.

    12. Regarding the allegations found in Paragraph 12, Defendant is without knowledge,

       information or belief as to when Plaintiff received a notice of right to file a lawsuit and

       therefore denies same. Further, Defendant is without knowledge, information, or belief



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       concerning whether Plaintiff has met all of the conditions precedent for filing her lawsuit

       and therefore denies same.

                                V. FACTUAL ALLEGATIONS

    13. Regarding the allegations contained in Paragraph 13, Defendant admits only that Plaintiff

       worked as an Accounts Payable Associate for Defendant from 2010 to 2018. Defendant

       denies Plaintiff's characterization of Plaintiff's duties.

    14. Regarding the allegations contained in Paragraph 14, Defendant admits that Plaintiff

       worked in the position of Accounts Payable for eight years prior to her termination.

       Defendant denies the remaining allegations contained in Paragraph 14.

    15. The allegations contained in Paragraph 15 are admitted.

    16. Defendant denies the allegations contained in Paragraph 16.

    17. Answering the first sentence of the allegations contained in Paragraph 17, Defendant

       admits that Plaintiff was paid on a salary basis and was not required to keep track of her

       hours, but denies that Plaintiff worked over 40 hours a week or was entitled to overtime

       payment. With regard to the second sentence, Defendant admits Plaintiff was paid

       $1,575 twice monthly, but denies the characterization of her paycheck.

    18. The allegations contained in the first sentence in Paragraph 18 are not factual allegations,

       but rather arguments of counsel or conclusions of law that require no response. To the

       extent these allegations are deemed to be allegations of fact, Defendant denies them.

       With regard to the allegations contained in the second sentence, Defendant denies them.

    19. The allegations contained in Paragraph 19 are not factual allegations, but rather are

       arguments of counsel or conclusions of law that require no response. To the extent these

       allegations are deemed to be allegations of fact, Defendant denies them.



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    20. The allegations contained in Paragraph 20 are not factual allegations, but rather are

       arguments of counsel or conclusions of law that require no response. To the extent these

       allegations are deemed to be allegations of fact, Defendant denies them.

    21. Defendant denies the allegations contained in Paragraph 21.

    22. Regarding the allegations contained in Paragraph 22, Defendant is without sufficient

       knowledge or information to admit or deny what Plaintiff's beliefs are. To the extent

       Defendant is required to answer, it is admitted that most of Defendant's employees

       receive a salary.

    23. With regard to the first sentence of the allegations contained in Paragraph 23, Defendant

       admits Plaintiff was offered a transfer in October 2016 to SASE's Rockford, Tennessee,

       office, but denies that Plaintiff was told the position was hers for two years with the

       option of remaining a third. Plaintiff was specifically told she was an at-will employee

       and no employment contract exists. With regard to the allegations contained in the

       second sentence, Defendant admits that Plaintiff accepted a transfer to Rockford,

       Tennessee, and began work there on February 20, 2017. Regarding the allegations

       contained in the third sentence of Paragraph 23, Defendant admits it paid the expenses of

       Plaintiff's move from Kent, Washington to the Rockford, Tennessee area. Defendant

       admits the allegations contained in the fourth sentence of Paragraph 23.

    24. Defendant denies the allegations contained in Paragraph 24.

    25. Regarding the allegations contained in the first sentence of Paragraph 25, Defendant is

       without sufficient knowledge or information to address Plaintiff's alleged "concerns," but

       denies Plaintiff's characterization of her workload and denies Plaintiff's characterization

       of Ms. Moore's performance.          Defendant denies the remaining allegations of



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       Paragraph 25.

    26. The allegations contained in Paragraphs 26 and 27 of the Complaint are denied.

    27. With regard to the allegations contained in the first sentence of Paragraph 28 of the

       Complaint, Defendant admits that Plaintiff requested a meeting with Mr. Bowlby and Mr.

       Abrahamson which took place on March 1, 2018. With regard to the second sentence,

       Defendant is without sufficient knowledge or information to speak to Plaintiff's reasons

       for requesting the meeting.

    28. With regard to the allegations contained in the first sentence in Paragraph 29 of the

       Complaint, Defendant admits that Plaintiff passed out notes, but denies her

       characterization of what the notes contained.       Defendant denies Plaintiff made any

       complaint during the March 1 meeting regarding her workload or pay, or that she stated

       her job needed to be performed by two people. With regard to the allegations contained

       in the second sentence, Defendant admits that Mr. Abrahamson informed Plaintiff that

       she was being terminated during the meeting. With regard to the allegations contained in

       the third sentence, Defendant admits that Mr. Abrahamson believed Plaintiff created a

       toxic work environment and that it was within his power to terminate her employment.

       Any allegations contained in Paragraph 29 of the Complaint that contradict or exceed the

       scope of the foregoing responses are denied.

    29. Regarding the allegations contained in Paragraph 30 of the Complaint, Defendant admits

       that Mr. Abrahamson asked Plaintiff to keep to her 9 A.M. to 5 P.M. schedule, and denies

       that Plaintiff was required to work outside of those stated hours.

    30. The allegations contained in Paragraph 31 of the Complaint are denied.

    31. Regarding the allegations contained in Paragraph 32 of the Complaint, Defendant admits,



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       upon information and belief, that Plaintiff was 70 years old at the time of her discharge.

       Defendant denies that Plaintiff was replaced by Meghan Moore.

    32. Regarding the allegations contained in Paragraph 33 of the Complaint, Defendant denies

       the allegations contained in the first three sentences. Defendant admits the allegation

       found in the last sentence of Paragraph 33 of the Complaint.

    33. The allegations contained in Paragraphs 34, 35, 36, 37, 38, 39, and 40 of the Complaint

       are denied.

                                 VI. CAUSES OF ACTION

                                 Count 1: Age Discrimination

    34. Regarding the allegations contained in Paragraph 41 of the Complaint, Defendant

       reaffirms and incorporates all of its responses to Paragraphs 1 through 40 as though fully

       set forth herein.

    35. The allegations in Paragraph 42 of the Complaint are not factual allegations, but rather

       arguments of counsel or conclusions of law that require no response. To the extent these

       allegations are deemed to be allegations of fact, Defendant denies them.

                               Count 2: Violations of the FLSA

    36. Regarding the allegations contained in Paragraph 43 of the Complaint, Defendant

       reaffirms and incorporates all of its responses to Paragraphs 1 through 42 as though fully

       set forth herein.

    37. The allegations contained in Paragraphs 44, 45, 46, and 47 of the Complaint are not

       factual allegations, but rather arguments of counsel or conclusions of law that require no

       response. To the extent these allegations are deemed to be allegations of fact, Defendant

       denies them.



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                      Count 3: Violation of Tenn. Code Ann. § 50-1-102

    38. Regarding the allegations contained in Paragraph 48 of the Complaint, Defendant

       reaffirms and incorporates all of its responses to Paragraphs 1 through 47 as though fully

       set forth herein.

    39. The allegations contained in Paragraph 49 of the Complaint are not factual allegations,

       but rather arguments of counsel or conclusions of law that require no response. To the

       extent these allegations are deemed to be allegations of fact, Defendant denies them.

                  Count 4: Fraudulent and/or Negligent Misrepresentation

    40. Regarding the allegations contained in Paragraph 50 of the Complaint, Defendant

       reaffirms and incorporates all of its responses to Paragraphs 1 through 49 as though fully

       set forth herein.

    41. The allegations in Paragraph 51 are not factual allegations, but rather arguments of

       counsel or conclusions of law that require no response. To the extent these allegations

       are deemed to be allegations of fact, Defendant denies them.

                           Count 5: Promissory Estoppel and/or Fraud

    42. Regarding the allegations in Paragraph 52 of the Complaint, Defendant reaffirms and

       incorporates all of its responses to Paragraphs 1 through 51 as though fully set forth

       herein.

    43. The allegations in Paragraphs 53 and 54 of the Complaint are not factual allegations, but

       rather arguments of counsel or conclusions of law that require no response. To the extent

       these allegations are deemed to be allegations of fact, Defendant denies them.




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                                  V. PRAYER FOR RELIEF

    44. The mis-numbered Paragraph 57 of the Complaint is a prayer for relief requiring neither

       an admission nor a denial by the Defendant. To the extent the prayer for relief seeks to

       create an inference that Defendant engaged in unlawful conduct or that Plaintiff is

       entitled to any remedy or relief, Defendant denies that Plaintiff is entitled to any of the

       relief sought therein or that Defendant is liable to Plaintiff to any extent whatsoever.

    45. To the extent that a claim for punitive damages is sent to the jury, Defendant demands

       that the claims of liability and punitive damages be bifurcated.

    46. Defendant does not contest that Plaintiff is entitled to a jury. Defendant demands the

       largest number of jurors to be empaneled as permitted by law.

    47. All allegations in Plaintiff's Complaint not expressly admitted above are hereby denied.

                 ADDITIONAL DEFENSES AND AFFIRMATIVE DEFENSES

       In further answer and response to the Complaint, and as separate and distinctive

    affirmative defenses or other defenses, Defendant alleges that each of the following is likely

    to have evidentiary support after a reasonable opportunity for further investigation or

    discovery. Without admitting or suggesting that it bears the burden of proof on any of the

    following issues, Defendant asserts the following additional and affirmative defenses to

    Plaintiff's Complaint:

                                         FIRST DEFENSE

       Some or all of Plaintiff's claims fail to state a claim upon which relief may be granted.




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                                         SECOND DEFENSE

       Plaintiff's claims may be barred in whole or in part by the applicable statutes of

    limitations to the extent that Plaintiff relies on actions or omissions that occurred outside the

    applicable statute of limitations.

                                          THIRD DEFENSE

       Plaintiff's claims may be barred by the doctrines of laches, unclean hands, and/or waiver.

                                         FOURTH DEFENSE

       Plaintiff's claims are barred, in whole or in part, by the doctrine of estoppel based on

    evidence that Plaintiff concealed her alleged after-hours work or manipulated her duties so

    that they fell outside her prescribed work period.

                                          FIFTH DEFENSE

       To the extent Plaintiff has failed to take reasonable steps to mitigate her alleged damages,

    any claim for monetary relief must be reduced in an amount equal to the amount of damages

    that could have been avoided.

                                          SIXTH DEFENSE

       Any claim for monetary relief by the Plaintiff must be reduced, denied, or offset in an

    amount equal to Plaintiff's interim earnings; by any amounts Plaintiff would have earned

    with reasonable diligence; or by Plaintiff's failure or refusal, for whatever reason, to be

    available for work after the termination of her employment with Defendant.

                                         SEVENTH DEFENSE

       In the event that Defendant discovers or otherwise learns of evidence to which the "after-

    acquired" evidence doctrine applies, Plaintiff shall be then and thereafter barred or limited

    from recovery or remedy pursuant to said doctrine.



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                                        EIGHTH DEFENSE

        Plaintiff has not alleged any basis for the imposition of punitive damages in this case.

    Unless Plaintiff demonstrates Defendant's alleged liability for the punitive damages and the

    appropriate amount of punitive damage by clear and convincing evidence, any award of

    punitive damages would violate various provisions of the United States Constitution and

    Tennessee law.

                                         NINTH DEFENSE

        Plaintiff's Complaint may be barred by additional affirmative or other defenses, including

    those contemplated by Federal Rule of Civil Procedure 8, which cannot be determined at this

    time without the benefit of discovery. Defendant therefore reserves the right, subject to the

    Court's approval, to amend this Answer and plead additional defenses at the conclusion of

    discovery.



        WHEREFORE, having fully answered Plaintiff's Complaint, Defendant hereby requests

 that the Court enter an Order:

        (a) dismissing the Complaint in its entirety, with prejudice, and enter judgment in

 Defendant's favor;

        (b) awarding Defendant its attorney's fees, discretionary costs, costs, and expenses; and

        (c) awarding Defendant any other relief the Court deems just and appropriate.




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                                                    Respectfully submitted,


                                                    s/ Charles K. Grant
                                                    Charles K. Grant, No. 017081
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                                                    CALDWELL & BERKOWITZ, P.C.
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                                                    (615) 726-5600 (telephone)
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                                                    Attorney for Defendant




                                CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on this 8th day of November, 2018, a copy of the

 foregoing document was served via U.S. Mail on:


        Paulette Myers James
        PO Box 1071
        Sumner, WA 98390
               and
        6709 47th Street Ct W
        University Place, WA 98466


                                                    s/ Charles K. Grant
                                                    Charles K. Grant




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